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  U.S. v. Edward S. Adams
 Case No. 17-64 (DWF/KMM)



                      Exhibit 1
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    CASE 0:17-cr-00064-DWF-KMM Doc. 173-1 Filed 07/23/18 Page 3 of 3




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DGHTXDWHWLPHWRUXOHRQWKRVHGLVSXWHVDQGSHUPLWWKHSDUWLHVDGHTXDWHWLPHWRSUHSDUHIRU
WULDO*LYHQWKHHVWLPDWHGOHQJWKRIWKHWULDOLQWKLVFDVH DSSUR[LPDWHO\ZHHNV LWVRXQGV
OLNH-XGJH)UDQNZRXOGKDYHWKHDYDLODELOLW\WRSUHVLGHRYHUDWULDOLQ'HFHPEHU-DQXDU\RU
)HEUXDU\&RXQVHOZLOOFRQWLQXHWRFRQIHUDERXWDWULDOGDWHFHUWDLQWKDWZLOOZRUNIRUDOO
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